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                          UNITED STATE DISTRICT COURT FOR
                            THE DISTRICT OF NEW JERSEY
                                  CAMDEN VICINAGE

NJDEP, et al.,
                                                    Hon. Renée Marie Bumb, Chief U.S.D.J.
                              Plaintiffs,           Hon. James B. Clark, III, U.S.M.J.

                 v.                                 CIV. NO. 19-14758 (RMB/JBC)
                                                    (Pompton Lakes)
E.I. DUPONT deNEMOURS and CO.,
INC., et al.,

                              Defendants.

NJDEP, et al.,
                                                    CIV. NO. 19-14766 (RMB/JBC)
                              Plaintiffs,           (Chambers Works)

                 v.

E.I. DUPONT deNEMOURS and CO.,
INC., et al.,

                              Defendants.


                              SPECIAL MASTER ORDER NO. 15
                              (Addressing Defendants’ Challenge to
                      Plaintiffs’ Deliberative Process Privilege Assertions)


       This matter is before the Special Master (“SM”) on defendants’ January 24, 2025

Application challenging plaintiffs’ deliberative process privilege designations; and the SM

having received plaintiffs’ February 7, 2025 response, defendants’ February 14, 2025 reply, and

plaintiffs’ February 20, 2025 response to defendants’ February 14, 2025 reply, including the

Declaration of Kimberly Cahall, which was filed with leave of the SM; and oral argument having

been conducted on February 21, 2025; and the SM having read into the record its Oral Opinion




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deciding defendants’ Application after the completion of oral argument; and this Order intending

to memorialize the SM’s rulings; and for all the reasons set forth in the SM’s Oral Opinion,

       IT IS HEREBY ORDERED this 24th day of February, 2025, that defendants’ Application

is GRANTED in part and DENIED in part; and it is further

       ORDERED as follows:

        1.     Plaintiffs’ assertion of the deliberative process privilege as to the 47 documents
               reviewed by the SM in camera is SUSTAINED except as to the documents
               identified in paragraph 5 herein.

        2.     Defendants’ assertion that plaintiffs waived their deliberative process privilege by
               sharing information with third parties such as the EPA and Delaware Riverkeeper
               Network is DENIED.

        3.     Defendants’ assertion that plaintiffs waived their deliberative process privilege
               based on the “at issue” and “sufficient need” doctrines as to the NJDEP’s
               documents concerning the “decision-making process related to the adequacy of
               past, present, and future remedial activities at Chambers Works, as well as
               compliance with applicable statutes and directives,” is DENIED.

        4.     Defendants’ assertion that plaintiffs waived their deliberative process privilege
               based on the “at issue” and “sufficient need” doctrines as to the NJDEP’s
               documents concerning its “knowledge of and deliberations related to PFAS,
               including but not limited to NJDEP’s knowledge of PFAS’s alleged persistence in
               the environment, impact on natural resources, toxicity, and presence in New
               Jersey,” is GRANTED in part and DENIED in part; and it is further

       ORDERED as follows:

        5.     Plaintiffs shall produce by March 7, 2005, documents pre-dating January 1, 2010,
               that were withheld on the basis of the deliberative process privilege that address
               or concern the toxicity, health or other harmful effects of PFAS and related
               compounds, the persistence of PFAS and related compounds in the environment,
               and the impact of PFAS and related compounds on natural resources. If plaintiffs
               have a good faith question about whether a document should be produced, the
               document shall be produced to the Special Master for an in camera review; and it
               is further

       ORDERED

        6.     That none of the 47 documents reviewed in camera are responsive to paragraph 5
               herein; and it is further


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       ORDERED

        7.   That defendants’ request to redepose plaintiffs’ Rule 30(b)(6) witness is DENIED
             without prejudice. The parties shall meet and confer before addressing any
             dispute with the Special Master.


                                          By: s/ Joel Schneider
                                             Hon. Joel Schneider (Ret.)
                                             Special Master

Dated: February 24, 2025




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